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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                         Case No. 1:21-cr-00537-JMC
RYAN SAMSEL, et al.,

   Defendants.


                     GOVERNMENT’S RESPONSE STATUS REPORT
                      REGARDING DEFENDANT RYAN SAMSEL


        The United States of America respectfully reports that according to the Bureau of Prisons’

online Inmate Locator, defendant Ryan Samsel has been transferred from the Federal Detention

Center in Philadelphia, Pennsylvania to the Bureau of Prisons facility in Lewsiburg, Pennsylvania.


                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar Number 481052

                                     By:      s/Karen Rochlin
                                             Karen Rochlin
                                             Assistant United States Attorney Detailee
                                             DC Bar No. 394447
                                             99 N.E. 4th Street
                                             Miami, Florida 33132
                                             (786) 972-9045
                                             Karen.Rochlin@usdoj.gov
